                          IN THE UNITED STATES DISTRICT COURT                           04/02/2019
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                        LYNCHBURG DIVISION


    ROBERT E. LEE SUPINGER, JR.,                         CASE NO. 6:15-cv-00017

                                        Plaintiff,
    v.                                                   MEMORANDUM OPINION

    COMMONWEALTH OF VIRGINIA, ET AL.,
                                                         JUDGE NORMAN K. MOON
                                     Defendants.



          The Court referred Plaintiff Robert E. Lee Supinger, Jr.’s (“Plaintiff”) motions for

   attorneys’ fees and costs to Magistrate Judge Robert Ballou for proposed factual findings and a

   recommended disposition pursuant to 28 U.S.C. § 636(b)(1)(B). The matter is now before the

   Court on Plaintiff’s motions for attorney fees and costs, (dkts. 211, 213), the Report and

   Recommendation of Judge Ballou, (dkt. 236, hereinafter “R&R”), and both parties’ objections

   thereto, (dkts. 240, 241). Judge Ballou recommended that this Court award Plaintiff a fee award

   of $488,962.60, and a costs award of $2,704.90, for a total of $491,667.50. Plaintiff and

   Defendants filed a total of eight objections to the R&R, and so the Court will review those

   portions of the R&R de novo. For the reasons set forth below, the Court will overrule Plaintiff’s

   objections, sustain in part and overrule in part Defendants’ objections, and adopt the R&R as

   modified to reflect Wooten v. Commonwealth, No. 6:14-cv-13.

                                         I.      Legal Standard

          District courts can award reasonable attorney’s fees to prevailing parties in civil rights

   litigation. 42 U.S.C. § 1988. The amount of the fee must be determined by the facts of each

   case, and “the fee applicant bears the burden of establishing entitlement to an award and

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   documenting the appropriate hours expended and hourly rates.” Hensley v. Eckerhart, 461 U.S.

   424, 436 (4th Cir. 1983). Fee awards should be “adequate to attract competent counsel, but . . .

   not produce windfalls to attorneys.” City of Riverside v. Rivera, 477 U.S. 561, 580 (1986).

   “[T]he proper calculation of an attorney’s fee award involves a three step process.” McAfee v.

   Boczar, 738 F.3d 81, 88 (4th Cir. 2013). First, the court must calculate the lodestar figure by

   multiplying the number of reasonable hours extended by a reasonable rate. Id. To determine

   these variables the Court should apply the factors set forth in Johnson v. Georgia Highway

   Express Inc., 488 F.2d 714, 717–19 (5th Cir. 1974). 1 Id. (citing Robinson v. Equifax Info. Servs.,

   LLC, 560 F.3d 235, 243 (4th Cir. 2009). Second, the Court must “subtract fees for hours spent

   on unsuccessful claims unrelated to successful ones.” Id. (internal quotations omitted). Finally,

   the Court should award a percentage of the remaining amount “depending on the degree of

   success enjoyed by Plaintiff.” Id. (internal quotations omitted).

          When a court refers a matter to a magistrate judge, any objections to the magistrate

   judge’s R&R must be reviewed de novo. Orpiano v. Johnson, 687 F.2d 44, 47 (4th Cir. 1982);

   see also 28 U.S.C.A. § 636(b)(1). In addressing the objections, “[t]he district court does not

   need to provide an elaborate or lengthy explanation, but it must provide a specific rationale that

   permits meaningful appellate review.” Cruz v. Marshall, 673 F. App’x 296, 299 (4th Cir. 2016).

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     These factors are as follows:
          (1) The time and labor expended; (2) the novelty and difficulty of the questions raised;
          (3) the skill required to properly perform the legal services rendered; (4) the attorney's
          opportunity costs in pressing the instant litigation; (5) the customary fee for like work; (6)
          the attorney's expectations at the outset of the litigation; (7) the time limitations imposed
          by the client or circumstances; (8) the amount in controversy and the results obtained; (9)
          the experience, reputation, and ability of the attorney; (10) the undesirability of the case
          within the legal community in which the suit arose; (11) the nature and length of the
          professional relationship between attorney and client; and (12) attorneys' fees awards in
          similar cases.
   McAfee v. Boczar, 738 F.3d 81, 88 n. 5 (4th Cir. 2013) (citing Barber v. Kimbrell’s Inc., 577
   F.2d 216, 226 n. 28 (4th Cir. 1978)).
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                                              II.       Analysis

          The parties do not object to the R&R’s recitation of the facts or procedural history in this

   case, and for that reason that portion of the R&R will be incorporated into this opinion. (See

   R&R at 2–4). Briefly, Plaintiff filed suit in 2015, asserting fourteen claims against various

   defendants. (Id. at 3). Most of his claims were dismissed for failure to state a claim or summary

   judgment was granted for Defendants. (Id.). This Court granted summary judgment in favor of

   Plaintiff regarding his procedural due process claim. (Id.). That judgment was affirmed by the

   Fourth Circuit. (Dkts. 141, 198). The Fourth Circuit remanded the case for a trial on damages,

   but the parties reached an agreement identifying Plaintiff as the prevailing party and determining

   damages and equitable relief. (Dkt. 211). The parties further agreed to submit the case to this

   Court for determination of an appropriate award of attorney’s fees and costs. (Dkt. 211).

          Plaintiff lodged a total of five objections to the R&R. (Dkt. 241). He states the R&R

   erred in the following ways: (1) its determinations regarding Plaintiff’s billing records, including

   its concerns about time spent reviewing discovery; (2) its subtraction of time entries because of

   duplicative efforts; (3) its reduction imposed for unrelated claims; (4) its failure to consider the

   case’s impact on the legal landscape; and (5) its consideration of the terms of the settlement

   agreement.     Defendants also filed objections to the R&R, alleging that it erred in three ways:

   (1) its analysis of the unrelated claims; (2) its failure to consider Wooten v. Commonwealth; and

   (3) its failure to properly reduce Plaintiff’s request for fees and costs associated with preparing

   his fee petition. The Court will address each objection within the framework provided by

   McAfee. 738 F.3d at 88. 2



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         Neither party objects to the hourly rates of $350.00 for Mr. Grimes and $225.00 for Ms.
   Haddox, the 50% reduction in paralegal fees, or the total costs calculation of $2,704.90.
   Accordingly, the Court will adopt each of those determinations. (R&R at 16, 24).
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           A. Objections Regarding the Lodestar Figure

           The first step in calculating fees is determining the lodestar figure. McAfee, 738 F.3d at

   88. To do so, the Court must consider the factors set forth in Johnson. 488 F.2d at 717; see

   McAffee, 738 F.3d at 88 n. 5 (adopting these factors). Although “Defendants do not object to the

   Report’s calculation of the lodestar,” (dkt. 240 at 10), Plaintiff’s first and second objections are

   directly related to the R&R’s lodestar calculation. Specifically, Plaintiff objects to the R&R’s

   reduction based on “excessiveness, vagueness, and block billing,” as well as the “duplication of

   efforts.” (R&R at 7–14). Both of these determinations are relevant to the first Johnson factor,

   the time and labor expended, and resulted in a 20% reduction to the lodestar calculation. (R&R

   at 16); see McAfee, 738 F.3d at 88 n. 5. Undertaking a de novo review, the Court considers both

   of Plaintiff’s objections to the lodestar figure in turn.

           i.      Excessiveness, Vagueness, and Block Billing

           “The party requesting a fee bears the burden of establishing entitlement to an award and

   documenting the appropriate hours expended and hourly rates.”             Project Vote/Voting for

   America, Inc. v. Long, 887 F.Supp.2d 704, 709 (E.D. Va. 2012) (citing Hensley, 461 U.S. at

   437). “Counsel for the prevailing party should make a good faith effort to exclude from a fee

   request hours that are excessive, redundant, or otherwise unnecessary.” Hensley, 461 U.S. at

   434. “Where the documentation of hours is inadequate, the district court may reduce the award

   accordingly.” Id. at 433. “Inadequate documentation includes the practice of grouping, or

   lumping, several tasks together under a single entry, without specifying the amount of time spent

   on each particular task.” Guidry v. Clare, 442 F.Supp.2d 282, 294 (E.D. Va. 2006). Vague

   descriptions may also warrant the reduction of an award.         Rum Creek Coal Sales, Inc. v.

   Caperton, 31 F.3d 169, 179 (4th Cir. 1994) (“We have frequently exhorted counsel to describe



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   specifically the tasks performed, a practice which is especially necessary when we review an

   award in a case where the plaintiff has not prevailed on all the claims.”).

          The Court does not dispute that this case required significant time and effort by those

   involved, but the record does not justify the fee award Plaintiff requests. The records provided

   are replete with vague entries such as “legal research,” “review and respond to emails,” “prepare

   for depositions,” “work on appeal,” “work on discovery,” and “review,” “digest,” or “work” on

   transcripts. (Dkt. 212-1). In a case such as this, where the litigation spanned years and “the

   plaintiff has not prevailed on all the claims,” such descriptions force the Court to “labor to

   dissect” each individual entry to determine if the task described could reasonably result in the

   requested time. See Rum Creek Coal Sales, 31 F.3d at 179; Long, 887 F.Supp.2d at 717.

          Furthermore, the records indicate multiple instances of excessive or block billing,

   especially given that these entries are often coupled with vague descriptions. For example, Mr.

   Grimes seeks compensation for 25 hours to “prepare for deposition” of Commissioner Richard

   Holcomb, not including the 1.3 hours recorded for “client conference” the night preceding the

   deposition or the 3.2 hours entered for the deposition itself. (Dkt. 212-1 at 17). Without more

   information and context the Court is left to guess if 25 hours of preparation is appropriate or

   excessive. A similar problem exists as to Ms. Haddox’s entries. She spent 3.1 hours “reading

   defendants’ appeal opening brief,” (id. at 24), and 4.4 hours “review[ing] filings on ECF

   system,” (dkt. 212-1 at 7). Again, the Court is left to hypothesize whether or not this time is

   excessive given the descriptions.

          There are also multiple instances of block billing in Plaintiff’s records. For example, Mr.

   Grimes billed 7.3 hours to “prepare for depositions of Elizabeth Jensen, John Dawson, Thomas,

   Dash and Ronna Howard,” (dkt. 212-1 at 16), and 6.2 hours to “review DMV’s opposition to



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   consolidation in Wooten case and work on reply memorandum and email to counsel concerning

   consolidation.” (Id. at 32). While Ms. Haddox did not as frequently lump together her billing

   entries, there are entries such as 7.2 hours billed for “oral argument of summary judgment

   motions in Stultz in preparation for our upcoming motions and hearings and reviewing letter

   filed by defendants concerning upcoming hearing with Judge Ballou concerning discovery

   concerns,” (id. at 20), and 7.5 hours for “research and work on drafting memorandum in

   opposition to defendants’ motion for summary judgment.”

          These instances of vague and block billing support a reduction of the requested fees.

   Plaintiff argues that the reduction was inappropriate “because the opinion overlooks the

   fundamental fact that defense counsel failed to provide any of their time records.” (Dkt. 241 at

   1) (emphasis in original). To support this proposition, Plaintiff relies on a case from the District

   of Nevada, which stated that defendant failed to present any evidence for finding the bills were

   unreasonable, “for example, [defendant] has not supplied the court with any evidence of how

   many hours were billed by its counsel. . . . [I]n the absence of such evidence, any reductions in

   plaintiff’s counsel’s bill would be arbitrary in nature.” Snell v. Reno Hilton Resort, 930 F.Supp.

   1428 (D.Nev. June 17, 1996). But under Fourth Circuit precedent, Plaintiff “bears the burden of

   establishing entitlement to an award and documenting the appropriate hours expended and hourly

   rates.” Long, 887 F.Supp.2d at 709; Spell v. McDaniel, 852 F.2d 762, 765 (4th Cir. 1988) (noting

   the fee applicant must prove that hours spent and hourly rates are reasonable). Here, the Court’s

   concern is that the record presented, given the billing practices described above, does not support

   the fee requested.    Plaintiff has offered no evidence or argument to dispute that finding.

   Therefore, Plaintiff’s first objection is found to be meritless and the Court will adopt the R&R’s

   15% reduction due to these billing practices.



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          ii.        Duplication of Efforts

          Plaintiff also objects to the R&R’s 5% reduction of the lodestar figure due to duplicated

   efforts. The Court must be “sensitive to the need to avoid use of multiple counsel for tasks

   where such use is not justified by the contributions of each attorney.” Rum Creek Coal Sales,

   Inc., 31 F.3d at 179. “Generalized billing by multiple attorneys on a large case often produces

   unacceptable duplication.” Id. Additionally, the Fourth Circuit has noted that it is inappropriate

   for the Court to charge defendants with the time necessary for replacement counsel to become

   familiar with the case. See Spell, 852 F.2d at 768 (holding that, “under § 1988, it is inappropriate

   to charge defendants with the time necessary for replacement appellate counsel to reach the level

   of familiarity with the case for which trial counsel had already been compensated”). With these

   principles in mind, the Court finds that Plaintiff’s objection is without merit and the 5% decrease

   is appropriate.

          As discussed above, there are multiple generalized billing descriptions that indicate

   duplicative work. One example is the 99.2 total hours billed for “work on memorandum in

   opposition to motion for summary judgment.” (Dkt. 212-1 at 29–31). Of these hours, 58.9 were

   recorded by Mr. Grimes and 40.3 were recorded by Ms. Haddox. It is impossible to tell if this

   work was necessary or simply duplicative given the vague descriptions provided. Furthermore,

   both attorneys recorded multiple entries for “work on reply brief,” totaling over 50 hours. Again,

   it is impossible to tell if this seemingly duplicative effort was necessary given the vague

   descriptions provided.

          The Court acknowledges Plaintiff’s argument that “a second set of eyes and ears” at

   certain proceedings “can provide insight that the more senior attorney, busy with actually

   carrying out the deposition or oral argument, may otherwise miss.” (Dkt. 241 at 3) (quoting Lost



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   Tree Vill. Corp. v. United States, 135 Fed. Cl. 92, 97, 2017 U.S. Claims LEXIS 1434**13

   (2017). However, the fee petitioner has the burden of demonstrating that the requested fee is

   reasonable, and the vague entries on the record here do not provide support for Plaintiff’s

   objection.. See Hensley, 461 U.S. at 436.

           Additionally, the Court notes that Plaintiff’s original counsel has requested and received

   fees in the instant motion. It is inappropriate for defendant to pay for new counsel to familiarize

   himself with the case. See Spell, 852 F.2d at 768. Thus, the Court must consider the fact that

   Mr. Grimes and Ms. Haddox were retained after Plaintiff’s original counsel developed a conflict.

   Defendants should not have to compensate Plaintiff’s counsel twice for efforts spent on the case

   due to a change in representation. See Personhuballah v. Alcorn, 239 F.Supp.3d 929, 949

   (E.D.VA. March 3, 2017) (“Plaintiffs’ attorneys are not to be faulted for spending time to get to

   speed in the case, or for taking maternity leave. Nonetheless, Defendants should not be forced to

   pay for this additional expense.”) (vacated and remanded on other grounds).

          These factors, in conjunction with the other factors set forth in Johnson, render Plaintiff’s

   objection meritless. Therefore, this section of the R&R and the lodestar figure set forth in the

   R&R will be adopted in full. (R&R at 16).

          B. Objections Regarding Results Obtained

          Once the lodestar figure is calculated, “[t]here remain other considerations that may lead

   the district court to adjust the fee upward or downward, including the important factor of the

   results obtained. This factor is particularly crucial where a plaintiff is deemed prevailing even

   though he succeeded on only some of his claims for relief.” Hensley 461 U.S. at 434. (noting

   that “[t]he district court also may consider other factors identified in [Johnson] though it should




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   note that many of these factors usually are subsumed within the initial calculation of hours

   reasonably expended at a reasonable hourly rate” (internal citations and quotations omitted)).

          Plaintiff’s third and fourth objections, as well as Defendants’ first objection, relate to the

   R&R’s analysis of the “results obtained” inquiry. Specifically, Plaintiff states, “the opinion

   overlooked the fact that there were no unrelated claims,” and “[s]imilarly with respect to the

   magistrate’s comments concerning degree of success and the statement that [Plaintiff’s] victory

   did not change the legal landscape . . . that is simply not true.” (Dkt. 241 at 4) (internal

   quotations omitted). Defendants, on the other hand, argue that the R&R “fail[ed] to consider that

   evidence relevant to a due process claim does not automatically overlap with evidence relevant

   to a First Amendment or Title VII retaliation claim” and, for similar reasons, failed by not

   reducing the fees awarded to Plaintiff’s original counsel. (Dkt. 240 at 12, 16).

          Where, as here, Plaintiff succeeded on only one claim for relief, two questions must be

   addressed. Hensley, 461 U.S. at 434. First, whether the unsuccessful claims related to the claims

   on which he succeeded, and, second, whether the plaintiff “achieve[d] a level of success that

   makes the hours reasonably expended a satisfactory basis for making a fee award[.]” Id. In

   cases where the plaintiff’s claims for relief “involve a common core of facts” and are “based on

   related legal theories . . . [m]uch of counsel’s time will be devoted generally to the litigation as a

   whole, making it difficult to divide the hours expended on a claim-by-claim basis.” Id. 434–35.

   Where this is the case, the Court “should focus on the significance of the overall relief obtained

   by the plaintiff in relation to the hours reasonably expended on the litigation.” Id. Accordingly,

   the Court will first discuss whether the case involved “a common core of facts.”




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          i.      Common Core of Fact

          Where claims are based on different legal theories, but arose from facts that “were

   inextricably intertwined,” such that “it is impossible to isolate the inquiry” into the successful

   claims from the other facts, a common core of facts exists. Goodwin v. Metts, 973 F.2d 378, 382

   (4th Cir. 1992) (internal quotations omitted). In Goodwin, the Fourth Circuit found that where

   the plaintiff’s attorneys “could easily have presented evidence establishing each element of [the

   plaintiff’s successful claims] without developing the facts surrounding the entire sequence of

   events,” there was no common core of facts.          Id.   For slightly different reasons than those

   presented in the R&R, the Court ultimately reaches the same conclusion and thus will adopt the

   R&R as modified below.

          Plaintiff originally alleged fourteen claims, all of which stemmed from his employment

   with the DMV and subsequent termination. (R&R at 3). The District Court granted summary

   judgment in favor of Plaintiff on his procedural due process claim, “finding that [Plaintiff’s] due

   process rights were violated in connection with his termination and the subsequent grievance

   process.” (Id.). In evaluating Plaintiff’s due process claim, this Court stated that it “boils down

   to one primary issue: did Defendants’ repeated refusal to give any post-termination process to a

   state employee violate due process?” (Dkt. 140 at 7). While all of Plaintiff’s claims arose

   during his employment with, and ultimate termination by, the DMV, Plaintiff could easily have

   presented evidence establishing that Defendants’ failed to provide him with post-deprivation due

   process without developing the record as to his other claims.

          To show a violation of his due process rights, Plaintiff had to show that he was vested

   with a constitutionally protected right, and that he was deprived of that right without due process

   of law. (Id. at 6–7). The parties were in agreement that Plaintiff was vested with such a right,



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   and that the process provided by Virginia’s Grievance Procedure, Va. Code § 2.2-3000, et seq

   (“VGP”) and Law-Enforcement Officers Procedural Guarantee Act (“LEOPGA”) provided the

   appropriate process. (Id.). Accordingly, Plaintiff’s success on summary judgment was based on

   Defendants’ failure to abide by the processes provided in those statutes. By contrast, Plaintiff’s

   other claims were tied to the facts surrounding the actions taken by him and Defendants prior to

   the post-deprivation process or the denial thereof. (See e.g. Dkt. 133 at 25 (regarding Plaintiff’s

   Title VII discrimination claim, “[Plaintiff] complained about this discriminatory act but DMV

   failed to take any action to correct this violation of law. As a result of Defendants’ actions

   [Plaintiff]” experienced adverse action.”))

          However, the Court cannot ignore the Supreme Court’s holding in Carey v. Piphus, 435

   U.S. 247, 259 (1978), that “the rules governing compensation for injuries caused by the

   deprivation of constitutional rights should be tailored to the interests protected by the particular

   right in question.” In this case, by denying Plaintiff due process, Defendants also failed to

   provide a hearing at which he could present evidence disputing his termination and airing his

   grievances. These elements of his claim are “inextricably intertwined” with Plaintiff’s other

   claims and cannot be ignored in light of Carey. In Abshire v. Walls, 830 F.2d 1277, 1282 (4th

   Cir. 1987), the Fourth Circuit stated that the plaintiff’s attorney “could not have presented the

   constitutional aspects of this case without developing and presenting the facts surrounding the

   entire sequence of events.” Similarly, the extent of Plaintiff’s injury could not be determined

   without the development of the facts surrounding his termination. Thus, the Court finds that a

   common core of fact existed. The Court turns now to “the significance of the overall relief

   obtained by the plaintiff in relation to the hours reasonably expended on the litigation.” Hensley,

   461 U.S. at 434



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          ii.     Degree of Success

          The Court turns now to the degree of success.           At the threshold, the Court notes

   Plaintiff’s fifth objection to the R&R, concerning the R&R’s consideration of the confidential

   settlement agreement when analyzing Plaintiff’s degree of success. (Dkt. 241 at 5). This

   objection is without merit. The arguments presented are identical to those in Plaintiff’s motion

   to strike, (dkt. 226). This motion was denied by Judge Ballou, who stated that, in determining

   attorney fees, “one of the critical factors this Court must consider” is “the amount in controversy

   and the results obtained.” (Dkt. 237 at 2). Accordingly, Judge Ballou reasoned that “by filing

   his fee petition, [Plaintiff] put his degree of success and, thus, recovery of damages in

   controversy, and Defendants are entitled to oppose the petition.” (Dkt. 237 at 2–3). “Where

   recovery of private damages is the purpose of a civil rights litigation, a district court, in fixing

   fees, is obligated to give primary consideration to the amount of damages awarded as compared

   to the amount sought.” McAfee, 738 F.3d at 93 (quoting City of Riverside v. Rivera, 477 U.S.

   561, 585 (1986) (Powell, J., concurring)).

          The Court agrees with the reasoning in the order denying Plaintiff’s motion to strike, and

   emphasizes that Plaintiff’s award is a necessary element of the determination of the matter at

   hand. See Doe v. Kidd, 656 F. App’x. 643, 657 (4th Cir. 2016) (“[T]he Supreme Court has

   recognized that the extent of a plaintiff’s success is the most critical factor in determining

   reasonable attorney’s fees under § 1988” (internal quotations omitted)). Thus, Plaintiff’s fifth

   objection to the R&R will be overruled.

          Where, as here, Plaintiff achieves only partial or limited success, but the claims share a

   common core of fact, the Court “should focus on the significance of the overall relief obtained

   by the plaintiff in relation to the hours reasonably expended on the litigation.” Hensley, 461 U.S.



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   at 434. As noted above, Plaintiff objects to the R&R’s “comments concerning degree of success

   and the statement that [Plaintiff’s] victory did not change the legal landscape”. (Dkt. 241 at 4).

          The damages recovered by plaintiff is “only one of many factors that a court should

   consider in calculating an award of attorney’s fees,” and the Supreme Court has explicitly

   rejected “the proposition that fee awards under § 1988 should necessarily be proportionate to the

   amount of damages a civil rights plaintiff actually recovers.” City of Riverside v. Rivera, 477

   U.S. 561, 574 (1986). In the same decision, the Court rejected the “notion that a civil rights

   action for damages constitutes nothing more than a private tort suit benefiting only the individual

   plaintiffs.” Id. Rather, the Court stated that “a civil rights plaintiff seeks to vindicate important

   civil and constitutional rights that cannot be valued solely in monetary terms.”           Id.   But,

   ultimately, “a reduced fee award is appropriate if the relief, however significant, is limited in

   comparison to the scope of the litigation as a whole.” Hensley, 461 U.S. at 440.

          Here, Plaintiff initially sought reinstatement and a total of $11,250,000 in damages, but

   ultimately received back pay, compensatory damages, and other non-monetary contributions for

   an overall value of $174,501.00. This degree of success warrants departure from the fees

   requested. Additionally, all of Plaintiff’s relief was personal to him and did not “shift the legal

   landscape” or “open the courthouse doors” to previously barred claims. Doe v. Kidd, 656 F.

   App’x. 643, 657–58. In Doe, the Fourth Circuit found a 63% decrease inappropriate where

   plaintiffs could now “enforce their rights under the Medicaid Act through § 1983.” Id. Despite

   Plaintiff’s contentions, this case is not comparable.       Here, the parties recognize that, had

   Defendants followed the procedures already in place, i.e., those set forth in VGP and LEOPGA,

   there would have been no violation of due process. (Dkt. 140 at 7). In Doe, the Fourth Circuit

   explicitly stated that defendants only came into compliance with the Medicaid Act years after



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   litigation.. 656 F. App’x. at 658. By contrast, there is no suggestion that any of the Defendants

   engage in widespread disregard of VGP or LEOPGA. Additionally, the Court notes that Wooten

   v. Commonwealth, discussed below, determined that Defendants’ behavior in this case violated

   due process. Thus, Plaintiff’s success established nothing new. (Dkt. 140).

           Given the individual nature of the relief, the “most critical factor is the degree of success

   obtained.” Hensley, 461 U.S. at 436. “Application of this principle is particularly important in

   complex civil rights litigation” where the fact that the plaintiff is the prevailing party “may say

   little about whether the expenditure of counsel’s time was reasonable in relation to the success

   achieved.” Id. Here, a fee award based on the claimed hours would be excessive. See also

   Prison Legal News v. Stolle, 681 F. App’x. 182, 185–86 (4th Cir. 2017) (upholding a reduction

   of 45% when the plaintiff achieved limited success in a § 1983 case); Denton v. PennyMac Loan

   Services, LLC, 252 F.Supp. 3d 504, 530 (E.D. Va. 2017) (“;[A] 40% reduction in attorney’s fees

   is appropriate in this case to reflect Plaintiff’s tangible victory . . . while also taking into account

   the minimal financial award that Plaintiff accepted in light of his initial settlement demand.”);

   but see Jones v. Southpeak Interactive Corp., 777 F.3d 658, 676 (4th Cir. 2015) (noting that it is

   “inappropriate to simply compare the total number of issues in the case with those actually

   prevailed upon” and that “a court should not reduce a fee award simply because the plaintiff

   failed to prevail on every contention raised in the lawsuit.”). In light of these factors and the

   reductions taken during the lodestar calculation, the Court will adopt the R&R’s

   recommendation of an additional 20% reduction, resulting in a total recommended attorneys fee

   award of $488.962.60.




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          C. Objection to the Failure to Consider Wooten v. Commonwealth

          As noted in Defendants’ objections, the R&R expressly declined to consider the results in

   this case’s companion case, Wooten v. Commonwealth. (Dkt. 240 at 17; R&R at 27, n. 17). The

   R&R declined to consider the impact of that case because it had been appealed to the Fourth

   Circuit based on its merits, and thus the fee petition was stayed at that time. (R&R at 27, n. 17).

   Wooten is no longer pending before the Fourth Circuit, and a satisfaction of judgment has been

   entered. It is unclear what attorney fees and costs were awarded in that case. However, the

   Court is obliged to consider the similarities between that case and the one at hand, and to adjust

   the award of fees in this case accordingly. In Wooten, the plaintiff was granted relief in the sum

   of $348,068.15 and the attorneys sought “almost $400,000 in fees and expenses for the work of

   multiple attorneys over several years.” (See Wooten v. Commonwealth, No. 6:14-cv-13, Dkts.

   267, 278). By contrast, Plaintiff in this case received a sum significantly lower, $174,501.00,

   (dkt. 221 at 21), but requested a total of $844,622.50 in attorneys’ fees. (R&R at 22, 2).

          The Court finds that some reduction is warranted in order to account for the vast

   differences in both ultimate results and fee requests despite the presentation of similar claims.

   Thus, the Court will impose an additional 10% reduction, resulting in a 30% total reduction in

   the lodestar figure and a total award of $427,842.27 in attorneys’ fees and costs. This amount

   brings the fees in this case closer to the amount requested in Wooten, and imposes a reduction

   more in line with those imposed in other § 1983 claims with similar levels of ultimate success.

   See e.g., Prison Legal News v. Stolle, 681 F. App’x. at 185–86 (imposing a 45% reduction when

   the plaintiff achieved limited success in a § 1983 case); Denton, 252 F.Supp. 3d at 530 (finding a

   40% reduction in attorneys’ fees appropriate to account for tangible victory but minimal

   monetary amount).



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          D. Objection to Fees and Costs Associated with Preparation of Fee Petition

          The final objection is Defendants’ contention that the R&R fails to consider a reduction

   of the costs associated with Plaintiff’s fee petition.    (Dkt. 240 at 19).    The R&R adjusts

   Plaintiff’s fee request associated with the fee petition by 20% and it does so on the basis of the

   reasons Defendants put forth in their objections, i.e., block billing as well as vague and/or

   duplicative entries. (See Dkt. 240 at 19–20; R&R at 16). After a review of the record, the Court

   finds these particular entries no more egregious than the rest of the billing entries, and thus

   concludes that the reduction imposed is sufficient. Defendants’ final objection will therefore be

   overruled.

          The Court notes, as did the R&R, that this case was contentious. The parties battled at

   every step, as they have continued to do here, resulting in rising fees. However, the Court cannot

   ignore that Plaintiff was ultimately successful on only a single claim and received a sum

   significantly less than initially requested. Nor can it overlook the significantly lower fees

   requested in Wooten. Therefore, the Court will adopt the R&R as modified above.



                                            III.   Conclusion


          After undertaking a de novo review of those portions of the R&R to which the parties

   objected, the Court concludes that Plaintiff’s objections lack merit and thus will be overruled.

   Defendants’ objections regarding the R&R’s failure to account for the attorney’s fees requested

   in Wooten will be sustained, but their other objections will also be overruled. The Court will

   award Plaintiff $427,842.27 in attorneys’ fees and $2,704.90 in costs, for a total award of

   $430,547.17.




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          The Clerk of the Court is hereby directed to send a certified copy of this Memorandum

   Opinion and the accompanying Order to all counsel of record, and to United States Magistrate

   Judge Robert S. Ballou.
                        2nd day of April, 2019.
          Entered this ______




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